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12   Health           02/24/2025     HRSA URL Tracker_Edited and              HHS0046 –
     Resources and                   Removed Pages on 1-30 and 1-31*          HHS0048
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13   Substance        02/21/2025     pagesjan30-31_SAMHSA*                    HHS0049 –
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14   National         02/21/2025     EO-Protecting-Women-NIH-Pages-           HHS0054 –
     Institutes of                   Sites-Removed*                           HHS0055
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15   Food and Drug    01/30/2025     Email subject “EO 14168 on Biological    HHS0056
     Administration                  Truth” and attachment

                      01/29/2025     OPM Initial Guidance Regarding           HHS0057 –
                                     President Trump’s Executive Order        HHS0058
                                     Defending Women

16   Food and Drug    01/30/2025     Email subject “EO 14168 Defending        HHS0059
     Administration                  Women” and attachment

                      01/29/2025     OPM Initial Guidance Regarding           HHS0060 –
                                     President Trump’s Executive Order        HHS0061
                                     Defending Women

17   Food and Drug    01/30/2025     Email subject “FDA.gov Immediate         HHS0062
     Administration                  Action Required: EO on Defending
                                     Women”

18   Food and Drug    01/30/2025     Email subject “RE: FDA.gov Immediate     HHS0063 –
     Administration                  Action Required: EO on Defending         HHS0064
                                     Women”

19   Office of the    01/31/2025     Action: Initial Guidance Regarding       HHS0065 –
     Secretary                       President Trump’s Executive Order        HHS0066
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                                     TAB A: Reporting Template –              HHS0067 –
                                     Defending Women                          HHS0068



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